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                                                       NIKON CORPORATION and
 18                                                    NIKON INC.
 19                  IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 20
      CARL ZEISS AG and ASML                         Case No. 2:17-cv-07083-RGK (MRWx)
 21
      NETHERLANDS B.V.,
 22                                                 NOTICE OF MOTION AND JOINT
                   Plaintiffs,                      MOTION REGARDING ORDER OF
 23
      v.                                            PROOF AT TRIAL
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    NIKON CORPORATION and                            Trial Date: December 4, 2018
 25
    NIKON INC.,                                      Judge:      Hon. R. Gary Klausner
 26         Defendants.                              Courtroom: 850, 8th Floor
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                                                NOTICE OF MOTION AND JOINT MOTION
                                                REGARDING ORDER OF PROOF AT TRIAL
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  1          Plaintiffs Carl Zeiss AG and ASML Netherlands B.V. (“Plaintiffs”), and
  2   Defendants Nikon Corporation and Nikon, Inc. (“Defendants”) hereby jointly inform
  3   the Court of two scheduling conflicts relating to the upcoming December 4 trial in this
  4   case, and request that the Court allow the parties to proceed in the following manner to
  5   accommodate the witness availability.
  6          As briefly discussed during the hearing on November 6, Plaintiffs have two
  7   significant scheduling conflicts during the upcoming December trial. First, Plaintiffs’
  8   witness Dr. Vivek Subramanian (expert on the ’312 family of sensor patents) is available
  9   only during the week of December 4, and is not available the week of December 11.
 10   Second, Plaintiffs’ witness Dr. Joseph Mundy (expert on the ’163 face detection patent)
 11   is a required presenter at a long-scheduled presentation in Washington D.C. from
 12   December 4 to 6. Because of Dr. Subramanian’s and Dr. Mundy’s scheduling conflicts,
 13   and the strain on Dr. Mundy due to travel and time change, the parties have met and
 14   conferred and agreed on an accommodation to address these conflicts and, subject to
 15   the Court’s approval, allow Dr. Mundy to commence his testimony on Tuesday,
 16   December 11. See Declaration of Dr. Joseph L. Mundy (filed concurrently with this
 17   motion) (explaining why it will be difficult for him to testify on December 7).
 18          Specifically, the parties have agreed to sequence the order of presentation of the
 19   witnesses and the evidence at trial in the following manner, subject to the Court’s
 20   approval. The parties jointly request that the Court permit the following proposed and
 21   stipulated order of proof at trial:
 22          1. On Tuesday, December 4, Plaintiffs will commence their witnesses on all
 23   sensor patents (i.e., the ’312, ’017, ’574, and ’335 patents) and damages for all patents;
 24          2. Defendants will follow with their witnesses on all sensor patents and damages
 25   for all patents;
 26          3. Plaintiffs will present their witnesses for their rebuttal case on all sensor
 27   patents and all damages;
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  1         4. On Tuesday, December 11, Plaintiffs will present their expert, Dr. Mundy, on
  2   the ’163 patent;
  3         5. Defendants will follow with their expert, Dr. Darrell, on the ’163 patent;
  4         6. Plaintiffs will follow with Dr. Mundy for rebuttal on the ’163 patent;
  5         7. Defendants will then present their invalidity rebuttal for all patents.
  6         The parties recognize that it is possible that the evidence for items 1-3 may be
  7   completed at some point in the afternoon session on Friday, December 7, before the
  8   end of the normal trial day at 4:00 PM. In the event that items 1-3 above are completed
  9   before the end of the trial day on Friday, December 7, the parties respectfully request
 10   that the Court dismiss the jury early that day without charging time to either side for
 11   any unused remaining trial time that day, resuming the trial with Dr. Mundy’s testimony
 12   on the morning of December 11. Defendants are agreeable to this modified schedule
 13   and order to accommodate Dr. Mundy’s schedule only if Dr. Darrell’s testimony and
 14   Defendants’ invalidity rebuttal will occur in the order proposed above and there is no
 15   time penalty to Defendants.
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  1                                   ECF ATTESTATION
  2
            I, Christopher S. Marchese, am the ECF User whose identification and password
  3
      are being used to electronically file this NOTICE OF MOTION AND JOINT
  4
      MOTION REGARDING ORDER OF PROOF AT TRIAL. In accordance with
  5
      Local Rule 5-4.3.4, concurrence in and authorization of the filing of this document has
  6
      been obtained from the counsel for defendants, and Fish & Richardson P.C. shall
  7
      maintain records to support this concurrence for subsequent production for the Court
  8
      if so ordered or for inspection upon request by a party.
  9
      Dated: November 26, 2018                    FISH & RICHARDSON P.C.
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  1                               CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on November 26, 2018, to all counsel of record
  4   who are deemed to have consented to electronic service via the Court’s CM/ECF
  5   system per Civil Local Rule 5.4. Any other counsel of record will be served by electronic
  6   mail, facsimile and/or overnight delivery.
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